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            Licensed or Certified Child Care Operations: Criminal History Requirements
In accordance with §745.651 (What types of criminal convictions may affect a person’s ability to be present at an
operation?), this chart notes criminal convictions that may affect a person's ability to be present in Licensed or Certified
Child Care Operations - including Independent Foster Homes, Child-Care Centers, Licensed Child-Care Homes, School-
Age and Before or After-School Programs, General Residential Operations, Shelter Care, Small Employer Based Child-
Care, and qualifying persons at Child Placing Agencies, excluding Foster and Adoptive Homes.

In this chart the words below have the following meaning:
 "Absolute Bar" means a person convicted of a particular crime is permanently prohibited from being present at the
    operation while children are in care; and the person does NOT qualify for a risk evaluation.
 "N/A" has two meanings in this chart. "N/A" under the "FELONY" or "MISDEMEANOR" column means there is no such
    relevant felony or misdemeanor crime. "N/A" under the "If this person is eligible for a risk evaluation . . . "question
    column means the question is not applicable, because a person with this conviction is not eligible for a risk evaluation.
 "No Action Required" means there is such a crime, but no action is required.
 "Risk Evaluation" means a person convicted of a particular crime is eligible for a risk evaluation based solely on that
    particular conviction. However, a person's overall eligibility for a risk evaluation is based on the entirety of the person's
    criminal and DFPS Central Registry history.
 "Risk Evaluation if conviction was in the last 10 years" means a risk evaluation is only required for 10 years from the
    date of the conviction. After the 10 years have passed, the particular crime no longer requires any action by DFPS,
    unless the person is on parole for a felony offense.

In reviewing this chart, you must understand the following:
 This chart applies to all criminal history checks conducted under Title 40, Texas Administrative Code, Chapter 745,
    Licensing, Subchapter F, Background Checks.
 Time limits are based on the date of conviction.
 When a final disposition has not yet been rendered, an arrest or charge for an offense listed on this chart may affect a
    person’s ability to be present at an operation if:
       o a conviction would bar the person from being present permanently or on a time-limited basis;
       o a conviction would prohibit the person from being present pending the outcome of a risk evaluation; or
       o the Centralized Background Check Unit (CBCU) determines that the person poses an immediate threat to the
           health or safety of children.
 Although the crimes listed in this chart reflect only offenses in Texas statutes, the same criminal history requirements
    apply to similar criminal offenses under the laws of another state or federal law.


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   For purposes of this chart, a Criminal Attempt conviction will be treated as falling under the same section of the Penal
    Code as the offense that was attempted. For example, a conviction for Attempt to Commit Murder would be treated in
    the same manner as Murder and would result in an absolute bar. Likewise, a conviction for Criminal Conspiracy or
    Criminal Solicitation will be treated as falling under the same section of the Penal Code as the offense that was the
    subject of the conspiracy or the solicitation.
   In accordance with §745.651(c), a person currently on parole for any felony offense not otherwise barrable must have
    an approved risk evaluation prior to being present at an operation.

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 Texas Penal Code, Title 4, Inchoate Offenses
                                                                                                                         If This Person Is Eligible for a
                                                                                                                            Risk Evaluation, May the
                                                                    FELONY                   MISDEMEANOR                Person be Present at the Child-
                                              Texas Penal
                  Offense                                   (Includes All Levels Unless   (Includes All Levels Unless          Care Operation While
                                                 Code          Otherwise Specified)          Otherwise Specified)         Children are in Care Pending
                                                                                                                             the Outcome of the Risk
                                                                                                                                   Evaluation?
                                                                                                                                    Felony: N/A
Criminal Solicitation of a Minor (felony or
                                                15.031            Absolute Bar               Risk Evaluation††
misdemeanor)
                                                                                                                               Misdemeanor: No

 Texas Penal Code, Title 5, Offenses Against the Person
                                                                                                                         If This Person Is Eligible for a
                                                                                                                            Risk Evaluation, May the
                                                                    FELONY                   MISDEMEANOR                Person be Present at the Child-
                                              Texas Penal
                  Offense                                   (Includes All Levels Unless   (Includes All Levels Unless          Care Operation While
                                                 Code
                                                               Otherwise Specified)          Otherwise Specified)        Children are in Care Pending
                                                                                                                             the Outcome of the Risk
                                                                                                                                   Evaluation?

Murder (felony)                                  19.02           Absolute Bar†                       N/A                              N/A


Capital Murder (felony)                          19.03           Absolute Bar†                       N/A                              N/A


Manslaughter (felony)                            19.04           Absolute Bar†                       N/A                              N/A


Criminally Negligent Homicide (felony)           19.05           Absolute Bar†                 Absolute Bar^                          N/A

                                                                                                                                  Felony: N/A
Unlawful Restraint (felony or
                                                 20.02           Absolute Bar†               Risk Evaluation††
misdemeanor)
                                                                                                                               Misdemeanor: No

Kidnapping (felony)                              20.03           Absolute Bar†                       N/A                              N/A


Aggravated Kidnapping (felony)                   20.04           Absolute Bar†                       N/A                              N/A




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                                                                                                                     If This Person Is Eligible for a
                                                                                                                        Risk Evaluation, May the
                                                                FELONY                   MISDEMEANOR                Person be Present at the Child-
                                          Texas Penal
                 Offense                                (Includes All Levels Unless   (Includes All Levels Unless          Care Operation While
                                             Code          Otherwise Specified)          Otherwise Specified)        Children are in Care Pending
                                                                                                                         the Outcome of the Risk
                                                                                                                               Evaluation?

Smuggling of Persons (felony)               20.05             Absolute Bar                       N/A                              N/A

Continuous Smuggling of Persons
                                            20.06             Absolute Bar                       N/A                              N/A
(felony)

Trafficking of Persons (felony)             20A.02            Absolute Bar                       N/A                              N/A

Continuous Trafficking of Persons
                                            20A.03            Absolute Bar                       N/A                              N/A
(felony)

Continuous Sexual Abuse of Young
                                            21.02            Absolute Bar†                       N/A                              N/A
Child or Children (felony)

Public Lewdness (misdemeanor)               21.07                  N/A                    Risk Evaluation                         No


Indecent Exposure (misdemeanor)             21.08                  N/A                    Risk Evaluation                         No


Bestiality (felony)                         21.09             Absolute Bar                 Absolute Bar^                          N/A


Indecency with a Child (felony)             21.11            Absolute Bar†                       N/A                              N/A

Improper Relationship Between
                                            21.12            Absolute Bar†                       N/A                              N/A
Educator & Student (felony)
Improper Photography or Visual
Recording (felony) or Invasive Visual       21.15             Absolute Bar                 Absolute Bar^                          N/A
Recording (felony)*
Unlawful Disclosure or Promotion of
                                            21.16**                N/A                    Risk Evaluation                         No
Intimate Visual Material (misdemeanor)



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                                                                                                                        If This Person Is Eligible for a
                                                                                                                           Risk Evaluation, May the
                                                                   FELONY                   MISDEMEANOR                Person be Present at the Child-
                                             Texas Penal
                 Offense                                   (Includes All Levels Unless   (Includes All Levels Unless          Care Operation While
                                                Code          Otherwise Specified)          Otherwise Specified)        Children are in Care Pending
                                                                                                                            the Outcome of the Risk
                                                                                                                                  Evaluation?
                                                                                                                                   Felony: N/A
Voyeurism (felony or misdemeanor)              21.17             Absolute Bar               Risk Evaluation††
                                                                                                                              Misdemeanor: No

Sexual Coercion (felony)                       21.18             Absolute Bar                 Absolute Bar^                          N/A

                                                                                                                                 Felony: N/A
Assault (felony or misdemeanor)                22.01            Absolute Bar†               Risk Evaluation††
                                                                                                                              Misdemeanor: No

Sexual Assault (felony)                        22.011           Absolute Bar†                       N/A                              N/A


Aggravated Assault (felony)                    22.02            Absolute Bar†                       N/A                              N/A


Aggravated Sexual Assault (felony)             22.021           Absolute Bar†                       N/A                              N/A

Injury to a Child, Elderly Individual, or
                                               22.04            Absolute Bar†                 Absolute Bar^                          N/A
Disabled Individual (felony)

Abandoning or Endangering Child
                                               22.041           Absolute Bar†                 Absolute Bar^                          N/A
(felony)
                                                                                                                                 Felony: N/A
Deadly Conduct (felony or
                                               22.05             Absolute Bar               Risk Evaluation††
misdemeanor)
                                                                                                                              Misdemeanor: No
                                                                                                                                 Felony: N/A
Terroristic Threat (felony or
                                               22.07             Absolute Bar               Risk Evaluation††
misdemeanor)
                                                                                                                              Misdemeanor: No
                                                                                                                                 Felony: N/A
Aiding Suicide (felony or misdemeanor)         22.08             Absolute Bar               Risk Evaluation††
                                                                                                                              Misdemeanor: No
Tampering with a Consumer Product
                                               22.09             Absolute Bar                       N/A                              N/A
(felony)


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                                                                                                                      If This Person Is Eligible for a
                                                                                                                         Risk Evaluation, May the
                                                                 FELONY                    MISDEMEANOR               Person be Present at the Child-
                                           Texas Penal
                  Offense                                (Includes All Levels Unless   (Includes All Levels Unless          Care Operation While
                                              Code          Otherwise Specified)          Otherwise Specified)        Children are in Care Pending
                                                                                                                          the Outcome of the Risk
                                                                                                                                Evaluation?
Leaving a Child in a Vehicle
                                              22.10                 N/A                    Risk Evaluation                         No
(misdemeanor)
Harassment by Persons in Certain
Correctional Facilities; Harassment of a      22.11            Absolute Bar                       N/A                              N/A
Public Servant (felony)
 Texas Penal Code, Title 6, Chapter 25, Offenses Against the Family
                                                                                                                      If This Person Is Eligible for a
                                                                                                                         Risk Evaluation, May the
                                                                 FELONY                    MISDEMEANOR               Person be Present at the Child-
                                           Texas Penal
                  Offense                                (Includes All Levels Unless   (Includes All Levels Unless          Care Operation While
                                              Code
                                                            Otherwise Specified)          Otherwise Specified)         Children are in Care Pending
                                                                                                                          the Outcome of the Risk
                                                                                                                                Evaluation?

Bigamy (felony)                               25.01          Risk Evaluation                      N/A                               No


Prohibited Sexual Conduct (felony)            25.02            Absolute Bar                       N/A                              N/A


Interference with Child Custody (felony)      25.03           Absolute Bar†                 Absolute Bar^                          N/A

Agreement to Abduct from Custody
                                             25.031           Absolute Bar†                 Absolute Bar^                          N/A
(felony)
                                                                                                                               Felony: N/A
Enticing a Child (felony or
                                              25.04           Absolute Bar†                Risk Evaluation
misdemeanor)
                                                                                                                            Misdemeanor: No
                                                            Risk Evaluation if            Risk Evaluation if
Criminal Nonsupport (felony)                  25.05      conviction was in the last    conviction was in the last                 Yes^^
                                                                 10 years                      10 years^
Harboring Runaway Child
                                              25.06                 N/A                    Risk Evaluation                          No
(misdemeanor)



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                                                                                                                       If This Person Is Eligible for a
                                                                                                                          Risk Evaluation, May the
                                                                  FELONY                   MISDEMEANOR                Person be Present at the Child-
                                            Texas Penal
                Offense                                   (Includes All Levels Unless   (Includes All Levels Unless          Care Operation While
                                               Code          Otherwise Specified)          Otherwise Specified)         Children are in Care Pending
                                                                                                                           the Outcome of the Risk
                                                                                                                                 Evaluation?
Violation of Certain Court Orders or
Conditions of Bond in a Family Violence,                                                                                        Felony: N/A
Child Abuse or Neglect, Sexual Assault         25.07           Absolute Bar†               Risk Evaluation††
or Abuse, Stalking, or Trafficking Case                                                                                      Misdemeanor: No
(felony or misdemeanor)*
Violation of Protective Order Preventing                                                                                        Felony: N/A
Offense Caused by Bias or Prejudice           25.071            Absolute Bar                Risk Evaluation
(felony or misdemeanor)                                                                                                      Misdemeanor: No
Repeated Violation of Certain Court
Orders or Conditions of Bond in Family
                                                                                                                                Felony: N/A
Violence, Child Abuse or Neglect,
                                              25.072            Absolute Bar               Risk Evaluation††
Sexual Assault or Abuse, Stalking,
                                                                                                                             Misdemeanor: No
Trafficking Case (felony or
misdemeanor)

Sale or Purchase of Child (felony)             25.08           Absolute Bar†                       N/A                              N/A

Unregulated Custody Transfer of
                                              25.081            Absolute Bar                       N/A                              N/A
Adopted Child (felony)
                                                                                                                                Felony: N/A
Advertising for Placement of Child
                                               25.09           Absolute Bar†                Risk Evaluation
(felony or misdemeanor)
                                                                                                                             Misdemeanor: No
Interference with Rights of a Guardian of
                                               25.10           Absolute Bar†                 Absolute Bar^                          N/A
the Person (felony)

Continuous Violence Against the Family
                                               25.11           Absolute Bar†                       N/A                              N/A
(felony)




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 Texas Penal Code, Title 7, Offenses Against Property
                                                                                                                      If This Person Is Eligible for a
                                                                                                                         Risk Evaluation, May the
                                                                 FELONY                   MISDEMEANOR                Person be Present at the Child-
                                         Texas Penal
                 Offense                                 (Includes All Levels Unless   (Includes All Levels Unless          Care Operation While
                                            Code            Otherwise Specified)          Otherwise Specified)         Children are in Care Pending
                                                                                                                          the Outcome of the Risk
                                                                                                                                Evaluation?

Arson (felony)                              28.02             Absolute Bar†                 Absolute Bar^                          N/A

Criminal Mischief (felony or
                                            28.03            Risk Evaluation             No Action Required                         No
misdemeanor)

Robbery (felony)                            29.02              Absolute Bar                       N/A                              N/A


Aggravated Robbery (felony)                 29.03              Absolute Bar                       N/A                              N/A

                                                            Risk Evaluation if
Burglary (felony)                           30.02        conviction was in the last      No Action Required^                      Yes^^
                                                                 10 years
                                         31.03, 31.04,      Risk Evaluation if
Theft (felony or misdemeanor)            31.05, 31.12,   conviction was in the last      No Action Required                       Yes^^
                                            31.16                10 years
                                                            Risk Evaluation if
Forgery (felony or misdemeanor)             32.21        conviction was in the last      No Action Required                       Yes^^
                                                                 10 years
                                                            Risk Evaluation if
Credit Card or Debit Card Abuse
                                            32.31        conviction was in the last               N/A                             Yes^^
(felony)
                                                                 10 years
False Statement to Obtain Property or                       Risk Evaluation if
Credit in the Provision of Certain          32.32        conviction was in the last      No Action Required                       Yes^^
Services (felony or misdemeanor)                                 10 years
                                                            Risk Evaluation if
Hindering Secured Creditors (felony or
                                            32.33        conviction was in the last      No Action Required                       Yes^^
misdemeanor)
                                                                 10 years
                                                            Risk Evaluation if
Misapplication of Fiduciary Property
                                            32.45        conviction was in the last      No Action Required                       Yes^^
(felony or misdemeanor)
                                                                 10 years


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                                                                                                                        If This Person Is Eligible for a
                                                                                                                           Risk Evaluation, May the
                                                                   FELONY                   MISDEMEANOR                Person be Present at the Child-
                                             Texas Penal
                 Offense                                   (Includes All Levels Unless   (Includes All Levels Unless          Care Operation While
                                                Code          Otherwise Specified)          Otherwise Specified)         Children are in Care Pending
                                                                                                                            the Outcome of the Risk
                                                                                                                                  Evaluation?
                                                              Risk Evaluation if
Securing Execution of Fiduciary
                                                32.46      conviction was in the last      No Action Required                       Yes^^
Property (felony or misdemeanor)
                                                                   10 years
Exploitation of Child, Elderly Individual,
                                                32.53         Risk Evaluation††                     N/A                               No
or Disabled Individual (felony)
                                                              Risk Evaluation if
Breach of Computer Security (felony or
                                                33.02      conviction was in the last      No Action Required                       Yes^^
misdemeanor)
                                                                   10 years

Online Solicitation of a Minor (felony)        33.021           Absolute Bar†                       N/A                              N/A

                                                               Risk Evaluation if
Electronic Data Tampering (felony or
                                               33.023      conviction was in the last      No Action Required                        Yes
misdemeanor)
                                                                    10 years
                                                               Risk Evaluation if
Unlawful Decryption (felony or
                                               33.024       conviction in the last 10      No Action Required                        Yes
misdemeanor)
                                                                     years
                                                               Risk Evaluation if
Telecommunications Crimes (felony or
                                                33A        conviction was in the last      No Action Required                       Yes^^
misdemeanor)
                                                                    10 years
                                                               Risk Evaluation if
Money Laundering (felony)                       34.02      conviction was in the last               N/A                             Yes^^
                                                                    10 years
                                                               Risk Evaluation if
Insurance Fraud (felony or
                                                35.02      conviction was in the last      No Action Required                       Yes^^
misdemeanor)
                                                                    10 years
                                                               Risk Evaluation if
Medicaid Fraud (felony or
                                               35A.02      conviction was in the last      No Action Required                       Yes^^
misdemeanor)
                                                                    10 years




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 Texas Penal Code, Title 8, Offenses Against Administration
                                                                                                                       If This Person Is Eligible for a
                                                                                                                          Risk Evaluation, May the
                                                                  FELONY                    MISDEMEANOR               Person be Present at the Child-
                                            Texas Penal
                   Offense                                (Includes All Levels Unless   (Includes All Levels Unless          Care Operation While
                                               Code          Otherwise Specified)          Otherwise Specified)         Children are in Care Pending
                                                                                                                           the Outcome of the Risk
                                                                                                                                 Evaluation?
                                                             Risk Evaluation if
Bribery (felony)                               36.02      conviction was in the last               N/A                             Yes^^
                                                                  10 years
                                                             Risk Evaluation if            Risk Evaluation if
Coercion of Public Servant or Voter
                                               36.03      conviction was in the last    conviction was in the last                 Yes^^
(felony or misdemeanor)
                                                                  10 years                      10 years
                                                                                           Risk Evaluation if
Improper Influence (misdemeanor)               36.04                 N/A                conviction was in the last                 Yes^^
                                                                                                10 years

Tampering with Witness (felony)                36.05          Risk Evaluation                      N/A                               No


Obstruction or Retaliation (felony)            36.06            Absolute Bar                       N/A                              N/A

                                                                                           Risk Evaluation if
Acceptance of Honorarium
                                               36.07                 N/A                conviction was in the last                 Yes^^
(misdemeanor)
                                                                                                10 years
                                                                                           Risk Evaluation if
Gift to Public Servant by Person Subject
                                               36.08                 N/A                conviction was in the last                 Yes^^
to His Jurisdiction (misdemeanor)
                                                                                                10 years
                                                                                           Risk Evaluation if
Offering Gift to Public Servant
                                               36.09                 N/A                conviction was in the last                 Yes^^
(misdemeanor)
                                                                                                10 years
                                                                                           Risk Evaluation if
Perjury (misdemeanor)                          37.02                 N/A                conviction was in the last                 Yes^^
                                                                                                10 years
                                                             Risk Evaluation if
Aggravated Perjury (felony)                    37.03      conviction was in the last               N/A                             Yes^^
                                                                  10 years
                                                                                           Risk Evaluation if                    Felony: No
Tampering with or Fabricating Physical
                                               37.09          Risk Evaluation           conviction was in the last
Evidence (felony or misdemeanor)
                                                                                                10 years                    Misdemeanor: Yes^^



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                                                                                                                       If This Person Is Eligible for a
                                                                                                                          Risk Evaluation, May the
                                                                 FELONY                     MISDEMEANOR               Person be Present at the Child-
                                           Texas Penal
                Offense                                  (Includes All Levels Unless    (Includes All Levels Unless          Care Operation While
                                              Code          Otherwise Specified)           Otherwise Specified)         Children are in Care Pending
                                                                                                                           the Outcome of the Risk
                                                                                                                                 Evaluation?
                                                                                        For Class A: Risk
                                                                                          Evaluation if conviction
Tampering with Governmental Record
                                              37.10          Risk Evaluation              was in the last 10 years                 Yes^^
(felony or misdemeanor)
                                                                                        For Class B or C: No
                                                                                          Action Required
                                                            Risk Evaluation if             Risk Evaluation if
Fraudulent Filing of Financing Statement
                                             37.101      conviction was in the last     conviction was in the last                 Yes^^
(felony or misdemeanor)
                                                                 10 years                       10 years
                                                            Risk Evaluation if
Impersonating a Public Servant (felony)       37.11      conviction was in the last                N/A                             Yes^^
                                                                 10 years
                                                            Risk Evaluation if             Risk Evaluation if
Record of a Fraudulent Court (felony or
                                              37.13      conviction was in the last     conviction was in the last                 Yes^^
misdemeanor)
                                                                 10 years                       10 years
False Statement Regarding Child                             Risk Evaluation if
Custody Determination Made in Foreign         37.14      conviction was in the last                N/A                             Yes^^
Country (felony)                                                 10 years
                                                                                        For Class A: Risk
                                                                                          Evaluation if conviction
Failure to Identify (misdemeanor)             38.02                 N/A                   was in the last 5 years                  Yes^^
                                                                                        For Class B or C: No
                                                                                          Action Required
                                                                                           Risk Evaluation if                    Felony: No
Resisting Arrest, Search, or
                                              38.03          Risk Evaluation            conviction was in the last
Transportation (felony or misdemeanor)
                                                                                                10 years                    Misdemeanor: Yes^^
                                                                                           Risk Evaluation if                   Felony: No
Evading Arrest or Detention (felony or
                                              38.04          Risk Evaluation            conviction was in the last
misdemeanor)
                                                                                                10 years                    Misdemeanor: Yes^^
                                                            Risk Evaluation if             Risk Evaluation if
Hindering Apprehension or Prosecution
                                              38.05      conviction was in the last     conviction was in the last                 Yes^^
(felony or misdemeanor)
                                                                 10 years                       10 years
                                                                                           Risk Evaluation if                    Felony: No
Escape (felony or misdemeanor)                38.06          Risk Evaluation            conviction was in the last
                                                                                                10 years                    Misdemeanor: Yes^^



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                                                                                                                        If This Person Is Eligible for a
                                                                                                                           Risk Evaluation, May the
                                                                  FELONY                    MISDEMEANOR                Person be Present at the Child-
                                            Texas Penal
                Offense                                   (Includes All Levels Unless    (Includes All Levels Unless          Care Operation While
                                               Code          Otherwise Specified)           Otherwise Specified)         Children are in Care Pending
                                                                                                                            the Outcome of the Risk
                                                                                                                                  Evaluation?
                                                                                           Risk Evaluation if                      Felony: No
Permitting or Facilitating Escape (felony
                                               38.07          Risk Evaluation           conviction was in the last
or misdemeanor)
                                                                                                10 years                     Misdemeanor: Yes^^

Implements for Escape (felony)                 38.09          Risk Evaluation                       N/A                               No

                                                             Risk Evaluation if
Bail Jumping and Failure to Appear
                                               38.10      conviction was in the last       No Action Required                       Yes^^
(felony and misdemeanor)
                                                                  10 years
                                                             Risk Evaluation if
Improper Contact with Victim (felony and
                                              38.111      conviction was in the last       No Action Required                       Yes^^
misdemeanor)
                                                                  10 years
Violation of Protective Order Issued on
Basis of Sexual Assault or Abuse,             38.112                 N/A                    Risk Evaluation††                         No
Stalking, or Trafficking (misdemeanor)
Unauthorized Absence from Community                          Risk Evaluation if
Corrections Facility, County Correctional     38.113      conviction was in the last       No Action Required^                      Yes^^
Center, or Assignment Site (felony)                               10 years
                                                             Risk Evaluation if
Falsely Holding Oneself Out as a
                                              38.122      conviction was in the last                N/A                             Yes^^
Lawyer (felony)
                                                                  10 years
                                                             Risk Evaluation if            Risk Evaluation if
Unauthorized Practice of Law (felony or
                                              38.123      conviction was in the last    conviction was in the last                  Yes^^
misdemeanor)
                                                                  10 years                      10 years
Taking or Attempting to Take Weapon
from Peace Officer, Federal Special
Investigator, Employee or Official of
Correctional Facility, Parole Officer,         38.14          Risk Evaluation                Risk Evaluation^                         No
Community Supervision and Corrections
Department Officer, or Commissioned
Security Officer (felony)
                                                                                         For Class A: Risk
                                                                                          Evaluation if conviction                Felony: No
Interference with Police Service Animals
                                              38.151          Risk Evaluation             was in the last 10 years
(felony or misdemeanor)
                                                                                         For Class B or C: No               Misdemeanor: Yes^^
                                                                                          Action Required

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                                                                                                                         If This Person Is Eligible for a
                                                                                                                            Risk Evaluation, May the
                                                                    FELONY                    MISDEMEANOR               Person be Present at the Child-
                                              Texas Penal
                 Offense                                    (Includes All Levels Unless   (Includes All Levels Unless          Care Operation While
                                                 Code          Otherwise Specified)          Otherwise Specified)         Children are in Care Pending
                                                                                                                             the Outcome of the Risk
                                                                                                                                   Evaluation?
Interference with Radio Frequency                              Risk Evaluation if
Licensed to Government Entity (felony           38.152      conviction was in the last      No Action Required                       Yes^^
or misdemeanor)                                                     10 years
Failure to Stop or Report Aggravated
                                                 38.17                 N/A                    Risk Evaluation                          No
Sexual Assault of Child (misdemeanor)
                                                                                             Risk Evaluation if
Failure to Report Felony (misdemeanor)          38.171                 N/A                conviction was in the last                 Yes^^
                                                                                                  10 years
                                                               Risk Evaluation if
Abuse of Official Capacity (felony or
                                                 39.02      conviction was in the last      No Action Required                       Yes^^
misdemeanor)
                                                                    10 years
Official Oppression (felony or
                                                 39.03          Risk Evaluation               Risk Evaluation                          No
misdemeanor)
Violations of the Civil Rights of Person in
Custody; Improper Sexual Activity with
                                                 39.04          Risk Evaluation               Risk Evaluation                          No
Person in Custody (felony or
misdemeanor)
                                                                                             Risk Evaluation if
Failure to Report Death of Prisoner
                                                 39.05                 N/A                conviction was in the last                 Yes^^
(misdemeanor)
                                                                                                  10 years
                                                               Risk Evaluation if
Misuse of Official Information (felony or
                                                 39.06      conviction was in the last      No Action Required                       Yes^^
misdemeanor)
                                                                    10 years




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 Texas Penal Code, Title 9, Disorderly Conduct and Related Offenses
                                                                                                                        If This Person Is Eligible for a
                                                                                                                           Risk Evaluation, May the
                                                                   FELONY                    MISDEMEANOR               Person be Present at the Child-
                                             Texas Penal
                Offense                                    (Includes All Levels Unless   (Includes All Levels Unless          Care Operation While
                                                Code          Otherwise Specified)          Otherwise Specified)         Children are in Care Pending
                                                                                                                            the Outcome of the Risk
                                                                                                                                  Evaluation?

Harassment (misdemeanor)                        42.07                 N/A                   Risk Evaluation††                         No


Stalking (felony)                              42.072            Absolute Bar                       N/A                              N/A

                                                                                            Risk Evaluation if
Abuse of Corpse (felony or
                                                42.08          Risk Evaluation           conviction was in the last                   No
misdemeanor)
                                                                                                 10 years
                                                                                            Risk Evaluation if
Cruelty to Livestock Animals (felony or
                                                42.09          Risk Evaluation           conviction was in the last                   No
misdemeanor)
                                                                                                 10 years
                                                                                            Risk Evaluation if
Attack on Assistance Animal (felony or
                                               42.091          Risk Evaluation           conviction was in the last                   No
misdemeanor)
                                                                                                 10 years
                                                                                            Risk Evaluation if
Cruelty to Nonlivestock Animals (felony
                                               42.092          Risk Evaluation           conviction was in the last                   No
or misdemeanor)
                                                                                                 10 years
                                                                                            Risk Evaluation if
Dog Fighting (felony or misdemeanor)            42.10          Risk Evaluation           conviction was in the last                   No
                                                                                                 10 years
                                                                                            Risk Evaluation if
Cockfighting (felony or misdemeanor)           42.105          Risk Evaluation           conviction was in last 10                    No
                                                                                                   years
                                                                                                                                 Felony: N/A
Prostitution (felony or misdemeanor)            43.02            Absolute Bar                Risk Evaluation
                                                                                                                              Misdemeanor: No
Promotion of Prostitution (felony or
                                                43.03            Absolute Bar                Risk Evaluation                          No
misdemeanor)

Aggravated Promotion of Prostitution
                                                43.04            Absolute Bar                       N/A                              N/A
(felony)


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                                                                                                                       If This Person Is Eligible for a
                                                                                                                          Risk Evaluation, May the
                                                                  FELONY                   MISDEMEANOR                Person be Present at the Child-
                                            Texas Penal
                Offense                                   (Includes All Levels Unless   (Includes All Levels Unless          Care Operation While
                                               Code          Otherwise Specified)          Otherwise Specified)         Children are in Care Pending
                                                                                                                           the Outcome of the Risk
                                                                                                                                 Evaluation?

Compelling Prostitution (felony)               43.05            Absolute Bar                       N/A                              N/A

Obscene Display or Distribution
                                               43.22                 N/A                    Risk Evaluation                          No
(misdemeanor)
                                                                                                                                Felony: N/A
Obscenity (felony or misdemeanor)              43.23            Absolute Bar                Risk Evaluation
                                                                                                                             Misdemeanor: No
Sale, Distribution, or Display of Harmful                                                                                       Felony: N/A
Material to Minor (felony or                   43.24            Absolute Bar                Risk Evaluation
misdemeanor)                                                                                                                 Misdemeanor: No

Sexual Performance by a Child (felony)         43.25           Absolute Bar†                       N/A                              N/A

Employment Harmful to Children
                                              43.251           Absolute Bar†                       N/A                              N/A
(felony)

Possession or Promotion of Child
                                               43.26           Absolute Bar†                       N/A                              N/A
Pornography (felony)
Electronic Transmission of Certain
Visual Material Depicting Minor               43.261                 N/A                    Risk Evaluation                          No
(misdemeanor)
Possession or Promotion of Lewd Visual
                                              43.262          Risk Evaluation                      N/A                               No
Material Depicting Child (felony)




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 Texas Penal Code, Title 10, Offenses Against Public Health, Safety, and Morals
                                                                                                                        If This Person Is Eligible for a
                                                                                                                           Risk Evaluation, May the
                                                                  FELONY                     MISDEMEANOR               Person be Present at the Child-
                                            Texas Penal
                Offense                                   (Includes All Levels Unless    (Includes All Levels Unless          Care Operation While
                                               Code          Otherwise Specified)           Otherwise Specified)         Children are in Care Pending
                                                                                                                            the Outcome of the Risk
                                                                                                                                  Evaluation?

Hoax Bombs (misdemeanor)                       46.08                 N/A                     Risk Evaluation                          No

                                                                                           Risk Evaluation if
Making a Firearm Accessible to a Child
                                               46.13                 N/A                conviction was in the last                  Yes^^
(misdemeanor)
                                                                                                10 years

Firearm Smuggling (felony)                     46.14          Risk Evaluation                       N/A                               No

Prohibition of the Purchase and Sale of
                                               48.02                 N/A                     Risk Evaluation                          No
Human Organs (misdemeanor)

Prohibition on Purchase and Sale of
                                               48.03          Risk Evaluation                Risk Evaluation^                         No
Human Fetal Tissue (felony)
                                                                                            Risk Evaluation if
Public Intoxication (misdemeanor)              49.02                 N/A                conviction was in the last 5                Yes^^
                                                                                                   years
                                                                                            Risk Evaluation if
Possession of Alcoholic Beverage in
                                              49.031                 N/A                 conviction was in the last                 Yes^^
Motor Vehicle (misdemeanor)
                                                                                                 10 years
                                                             Risk Evaluation if             Risk Evaluation if                    Felony: No
Driving While Intoxicated (felony or
                                               49.04      conviction was in the last     conviction was in the last
misdemeanor)
                                                                  10 years                       10 years                    Misdemeanor: Yes^^
                                                             Risk Evaluation if             Risk Evaluation if
Driving While Intoxicated with Child
                                              49.045      conviction was in the last     conviction was in the last                   No
Passenger (felony)
                                                                  10 years                       10 years^
                                                             Risk Evaluation if             Risk Evaluation if                    Felony: No
Flying While Intoxicated (felony or
                                               49.05      conviction was in the last     conviction was in the last
misdemeanor)
                                                                  10 years                       10 years                    Misdemeanor: Yes^^
                                                             Risk Evaluation if             Risk Evaluation if                   Felony: No
Boating While Intoxicated (felony or
                                               49.06      conviction was in the last     conviction was in the last
misdemeanor)
                                                                  10 years                       10 years                    Misdemeanor: Yes^^


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                                                                                                                      If This Person Is Eligible for a
                                                                                                                         Risk Evaluation, May the
                                                                 FELONY                    MISDEMEANOR               Person be Present at the Child-
                                           Texas Penal
                 Offense                                 (Includes All Levels Unless   (Includes All Levels Unless          Care Operation While
                                              Code          Otherwise Specified)          Otherwise Specified)         Children are in Care Pending
                                                                                                                          the Outcome of the Risk
                                                                                                                                Evaluation?
Assembling or Operating an Amusement                        Risk Evaluation if            Risk Evaluation if                     Felony: No
Ride While Intoxicated (felony or            49.065      conviction was in the last    conviction was in the last
misdemeanor)                                                     10 years                      10 years                    Misdemeanor: Yes^^

Intoxication Assault (felony)                 49.07           Absolute Bar†                       N/A                              N/A


Intoxication Manslaughter (felony)            49.08           Absolute Bar†                       N/A                              N/A


 Texas Penal Code, Title 11, Organized Crime
                                                                                                                      If This Person Is Eligible for a
                                                                                                                         Risk Evaluation, May the
                                                                 FELONY                    MISDEMEANOR               Person be Present at the Child-
                                           Texas Penal
                 Offense                                 (Includes All Levels Unless   (Includes All Levels Unless          Care Operation While
                                              Code
                                                            Otherwise Specified)          Otherwise Specified)         Children are in Care Pending
                                                                                                                          the Outcome of the Risk
                                                                                                                                Evaluation?
Engaging in Organized Criminal Activity
                                              71.02          Risk Evaluation               Risk Evaluation                          No
(felony or misdemeanor)
Violation of Court Order Enjoining
Organized Criminal Activity                  71.021                 N/A                    Risk Evaluation                          No
(misdemeanor)
Coercing, Inducing, or Soliciting
Membership in a Criminal Street Gang         71.022          Risk Evaluation                      N/A                               No
(felony)
Directing Activities of Certain Criminal
                                             71.023          Risk Evaluation                      N/A                               No
Street Gangs (felony)




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 Texas Education Code
 Chapter 37 Discipline; Law and Order
                                                                                                                       If This Person Is Eligible for a
                                                                                                                          Risk Evaluation, May the
                                                                  FELONY                    MISDEMEANOR               Person be Present at the Child-
                                             Education
                Offense                                   (Includes All Levels Unless   (Includes All Levels Unless          Care Operation While
                                               Code          Otherwise Specified)          Otherwise Specified)         Children are in Care Pending
                                                                                                                           the Outcome of the Risk
                                                                                                                                 Evaluation?
Personal Hazing Offense                                                                    Risk Evaluation if
(felony or misdemeanor) or Hazing              37.152        Risk Evaluation††          conviction was in the last                   No
(felony or misdemeanor)*                                                                        10 years
 Texas Family Code
 Chapter 107 Special Appointments and Social Studies
 Chapter 156 Modification
 Chapter 162 Adoption
 Chapter 261 Investigation of Report of Child Abuse or Neglect
 Chapter 262 Procedures in Suit by Governmental Entity to Protect Health and Safety of Child
                                                                                                                       If This Person Is Eligible for a
                                                                                                                          Risk Evaluation, May the
                                                                  FELONY                    MISDEMEANOR               Person be Present at the Child-
                Offense                     Family Code   (Includes All Levels Unless   (Includes All Levels Unless          Care Operation While
                                                             Otherwise Specified)          Otherwise Specified)         Children are in Care Pending
                                                                                                                           the Outcome of the Risk
                                                                                                                                 Evaluation?
Disclosing confidential information
obtained from DFPS social study              107.05145               N/A                    Risk Evaluation                          No
(misdemeanor)
Modification of order on conviction for
                                              156.104                N/A                    Risk Evaluation                          No
Child Abuse (misdemeanor)

Modification of order on conviction for
                                              156.1045               N/A                    Risk Evaluation                          No
Family Violence (misdemeanor)

Placement by Unauthorized Person
                                              162.025                N/A                    Risk Evaluation                          No
(misdemeanor)
General Penalty: Violating the Interstate
Compact on the Placement of children          162.107                N/A                    Risk Evaluation                          No
(misdemeanor)

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                                                                                                                       If This Person Is Eligible for a
                                                                                                                          Risk Evaluation, May the
                                                                  FELONY                   MISDEMEANOR                Person be Present at the Child-
                Offense                     Family Code   (Includes All Levels Unless   (Includes All Levels Unless          Care Operation While
                                                             Otherwise Specified)          Otherwise Specified)         Children are in Care Pending
                                                                                                                           the Outcome of the Risk
                                                                                                                                 Evaluation?
Prohibited Acts: Criminal Penalties
                                              162.421         Risk Evaluation               Risk Evaluation                          No
(felony or misdemeanor)

Making a False Report of Abuse or
                                              261.107         Risk Evaluation               Risk Evaluation^                       Yes^^
Neglect (felony)
                                                                                                                                Felony: N/A
Failure to Report; Penalty (felony or
                                              261.109           Absolute Bar                Risk Evaluation
misdemeanor)
                                                                                                                             Misdemeanor: No

Conduct of Investigation (misdemeanor)        261.302                N/A                    Risk Evaluation                          No

Interference with Investigation; Criminal
                                              261.3032               N/A                    Risk Evaluation                          No
Penalty (misdemeanor)
                                                                                                                                Felony: N/A
Removal of Alleged Perpetrator; Offense
                                              262.1015          Absolute Bar                Risk Evaluation
(felony or misdemeanor)
                                                                                                                             Misdemeanor: No




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 Texas Health and Safety Code
 Chapter 81 Communicable Diseases
 Chapter 161 Public Health Provisions
 Chapter 260 Boarding Home Facilities
 Chapter 464 Facilities Treating Alcoholics or Drug-Dependent Persons
 Chapter 481 Texas Controlled Substances Act
 Chapter 482 Simulated Controlled Substances
 Chapter 483 Dangerous Drugs
 Chapter 485 Abusable Volatile Chemicals
 Chapter 555 State Supported Living Centers
                                                                                                                      If This Person Is Eligible for a
                                                                                                                         Risk Evaluation, May the
                                                                  FELONY                    MISDEMEANOR               Person be Present at a Child-
                                             Health and
                Offense                                   (Includes All Levels Unless   (Includes All Levels Unless         Care Operation While
                                            Safety Code
                                                             Otherwise Specified)          Otherwise Specified)        Children are in Care Pending
                                                                                                                          the Outcome of the Risk
                                                                                                                                Evaluation?
Evading or Resisting Apprehension or
Transport by Person Subject to Custody         81.212                N/A                    Risk Evaluation                         No
or Temporary Detention (misdemeanor)
Reports of Abuse and Neglect or of
Illegal, Unprofessional or Unethical          161.132                N/A                    Risk Evaluation                         No
Conduct (misdemeanor)
Failure to Report: Criminal Penalty
                                             260A.012                N/A                    Risk Evaluation                         No
(misdemeanor)
Bad Faith, Malicious or Reckless
Reporting: Criminal Penalty                  260A.013                N/A                    Risk Evaluation                       Yes^^
(misdemeanor)

Criminal Penalty (misdemeanor)                464.016                N/A                    Risk Evaluation                         No

                                                             Risk Evaluation if            Risk Evaluation if                   Felony: No
Manufacture or Delivery of Controlled
                                              481.112     conviction was in the last    conviction was in the last
Substances (felony)
                                                                  10 years                      10 years^                  Misdemeanor: Yes^^
                                                             Risk Evaluation if            Risk Evaluation if                  Felony: No
Manufacture or Delivery of Substance in
                                              481.1121    conviction was in the last    conviction was in the last
Penalty Group 1-A (felony)
                                                                  10 years                      10 years^                  Misdemeanor: Yes^^



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                                                                                                                     If This Person Is Eligible for a
                                                                                                                        Risk Evaluation, May the
                                                                 FELONY                    MISDEMEANOR               Person be Present at a Child-
                                            Health and
                Offense                                  (Includes All Levels Unless   (Includes All Levels Unless         Care Operation While
                                           Safety Code      Otherwise Specified)          Otherwise Specified)        Children are in Care Pending
                                                                                                                         the Outcome of the Risk
                                                                                                                               Evaluation?
                                                            Risk Evaluation if            Risk Evaluation if                    Felony: No
Manufacture or Delivery of Substance in
                                             481.113     conviction was in the last    conviction was in the last
Penalty Group 2 or 2-A (felony)
                                                                 10 years                      10 years^                  Misdemeanor: Yes^^
                                                            Risk Evaluation if            Risk Evaluation if                  Felony: No
Manufacture or Delivery of Substance in
                                             481.114     conviction was in the last    conviction was in the last
Penalty Group 3 or 4 (felony)
                                                                 10 years                      10 years^                  Misdemeanor: Yes^^
                                                            Risk Evaluation if            Risk Evaluation if                  Felony: No
Possession of Substance in Penalty
                                             481.115     conviction was in the last    conviction was in the last
Group 1 (felony)
                                                                 10 years                      10 years^                  Misdemeanor: Yes^^
                                                            Risk Evaluation if            Risk Evaluation if                  Felony: No
Possession of Substance in Penalty
                                             481.1151    conviction was in the last    conviction was in the last
Group 1-A (felony)
                                                                 10 years                      10 years^                  Misdemeanor: Yes^^
                                                            Risk Evaluation if            Risk Evaluation if                  Felony: No
Possession of Substance in Penalty
                                             481.116     conviction was in the last    conviction was in the last
Group 2 (felony)
                                                                 10 years                      10 years^                  Misdemeanor: Yes^^
                                                            Risk Evaluation if            Risk Evaluation if                  Felony: No
Possession of Substance in Penalty
                                             481.1161    conviction was in the last    conviction was in the last
Group 2-A (felony or misdemeanor)
                                                                 10 years                      10 years                   Misdemeanor: Yes^^
                                                            Risk Evaluation if            Risk Evaluation if                  Felony: No
Possession of Substance in Penalty
                                             481.117     conviction was in the last    conviction was in the last
Group 3 (felony or misdemeanor)
                                                                 10 years                      10 years                   Misdemeanor: Yes^^
                                                            Risk Evaluation if            Risk Evaluation if                  Felony: No
Possession of Substance in Penalty
                                             481.118     conviction was in the last    conviction was in the last
Group 4 (felony or misdemeanor)
                                                                 10 years                      10 years                   Misdemeanor: Yes^^
Manufacture, Delivery, or Possession of                     Risk Evaluation if            Risk Evaluation if                  Felony: No
Miscellaneous Substances (felony or          481.119     conviction was in the last    conviction was in the last
misdemeanor)                                                     10 years                      10 years                   Misdemeanor: Yes^^
                                                            Risk Evaluation if            Risk Evaluation if                  Felony: No
Delivery of Marijuana (felony or
                                             481.120     conviction was in the last    conviction was in the last
misdemeanor)
                                                                 10 years                      10 years                   Misdemeanor: Yes^^
                                                            Risk Evaluation if            Risk Evaluation if                  Felony: No
Possession of Marijuana (felony or
                                             481.121     conviction was in the last    conviction was in the last
misdemeanor)
                                                                 10 years                      10 years                   Misdemeanor: Yes^^
                                                            Risk Evaluation if
Delivery of Controlled Substance or
                                             481.122     conviction was in the last               N/A                              No
Marijuana to Child (felony)
                                                                 10 years

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                                                                                                                     If This Person Is Eligible for a
                                                                                                                        Risk Evaluation, May the
                                                                 FELONY                    MISDEMEANOR               Person be Present at a Child-
                                            Health and
                 Offense                                 (Includes All Levels Unless   (Includes All Levels Unless         Care Operation While
                                           Safety Code      Otherwise Specified)          Otherwise Specified)        Children are in Care Pending
                                                                                                                         the Outcome of the Risk
                                                                                                                               Evaluation?
Possession or Transport of Certain
                                                            Risk Evaluation if            Risk Evaluation if                   Felony: No
Chemicals with Intent to Manufacture
                                             481.124     conviction was in the last    conviction was in the last
Controlled Substance (felony or
                                                                 10 years                      10 years                   Misdemeanor: Yes^^
misdemeanor)
Possession or Transport of Anhydrous                        Risk Evaluation if
Ammonia: Use of or Tampering with            481.1245    conviction was in the last               N/A                              No
Equipment (felony)                                               10 years
                                                            Risk Evaluation if            Risk Evaluation if                   Felony: No
Possession or Delivery of Drug
                                             481.125     conviction was in the last    conviction was in the last
Paraphernalia (felony or misdemeanor)
                                                                 10 years                      10 years                   Misdemeanor: Yes^^
                                                            Risk Evaluation if
Illegal Barter, Expenditure, or
                                             481.126     conviction was in the last               N/A                              No
Investment (felony)
                                                                 10 years
                                                            Risk Evaluation if            Risk Evaluation if                   Felony: No
Unauthorized Disclosure of Information
                                             481.127     conviction was in the last    conviction was in the last
(felony)
                                                                 10 years                      10 years^                  Misdemeanor: Yes^^
                                                            Risk Evaluation if            Risk Evaluation if                  Felony: No
Commercial Matters (felony)                  481.128     conviction was in the last    conviction was in the last
                                                                 10 years                      10 years^                  Misdemeanor: Yes^^
Diversion of Controlled Substance by                        Risk Evaluation if            Risk Evaluation if                  Felony: No
Restraints, Dispensers, and Certain          481.1285    conviction was in the last    conviction was in the last
Other Persons (felony)                                           10 years                      10 years^                  Misdemeanor: Yes^^
                                                            Risk Evaluation if            Risk Evaluation if                  Felony: No
Fraud (felony or misdemeanor)                481.129     conviction was in the last    conviction was in the last
                                                                 10 years                      10 years                   Misdemeanor: Yes^^
                                                            Risk Evaluation if            Risk Evaluation if                  Felony: No
Diversion of Controlled Substance
                                             481.131     conviction was in the last    conviction was in the last
Property or Plant (felony)
                                                                 10 years                      10 years^                  Misdemeanor: Yes^^
                                                                                          Risk Evaluation if
Falsification of Drug Test Results
                                             481.133                N/A                conviction was in the last                Yes^^
(misdemeanor)
                                                                                               10 years
                                                            Risk Evaluation if            Risk Evaluation if                   Felony: No
Unlawful Transfer or Receipt of
                                             481.136     conviction was in the last    conviction was in the last
Chemical Precursor (felony)
                                                                 10 years                      10 years^                  Misdemeanor: Yes^^



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                                                                                                                   If This Person Is Eligible for a
                                                                                                                      Risk Evaluation, May the
                                                               FELONY                    MISDEMEANOR               Person be Present at a Child-
                                          Health and
                 Offense                               (Includes All Levels Unless   (Includes All Levels Unless         Care Operation While
                                         Safety Code      Otherwise Specified)          Otherwise Specified)        Children are in Care Pending
                                                                                                                       the Outcome of the Risk
                                                                                                                             Evaluation?
                                                          Risk Evaluation if
Transfer of Precursor Substance for
                                           481.137     conviction was in the last               N/A                              No
Unlawful Manufacture (felony)
                                                               10 years
                                                          Risk Evaluation if            Risk Evaluation if                   Felony: No
Unlawful Transfer or Receipt of
                                           481.138     conviction was in the last    conviction was in the last
Chemical Laboratory Apparatus (felony)
                                                               10 years                      10 years^                  Misdemeanor: Yes^^
Transfer of Chemical Laboratory                           Risk Evaluation if
Apparatus for Unlawful Manufacture         481.139     conviction was in the last               N/A                              No
(felony)                                                       10 years
Unlawful Delivery or Manufacture with                     Risk Evaluation if            Risk Evaluation if                   Felony: No
Intent to Deliver; Criminal Penalty        482.002     conviction was in the last    conviction was in the last
(felony)                                                       10 years                      10 years^                  Misdemeanor: Yes^^
                                                                                        Risk Evaluation if
Possession of Dangerous Drug
                                           483.041                N/A                conviction was in the last                Yes^^
(misdemeanor)
                                                                                             10 years
                                                          Risk Evaluation if            Risk Evaluation if                   Felony: No
Delivery or Offer of Delivery of
                                           483.042     conviction was in the last    conviction was in the last
Dangerous Drug (felony)
                                                               10 years                      10 years^                  Misdemeanor: Yes^^
                                                          Risk Evaluation if            Risk Evaluation if                  Felony: No
Manufacture of Dangerous Drug (felony)     483.043     conviction was in the last    conviction was in the last
                                                               10 years                      10 years^                  Misdemeanor: Yes^^
                                                                                        Risk Evaluation if
Forging or altering prescription
                                           483.045                N/A                conviction was in the last                Yes^^
(misdemeanor)
                                                                                             10 years
                                                                                        Risk Evaluation if
Possession and Use (misdemeanor)           483.031                N/A                conviction was in the last                Yes^^
                                                                                             10 years
                                                          Risk Evaluation if            Risk Evaluation if                   Felony: No
Delivery to a Minor (felony or
                                           485.032     conviction was in the last    conviction was in the last
misdemeanor)
                                                               10 years                      10 years                   Misdemeanor: Yes^^
                                                                                        Risk Evaluation if
Inhalant Paraphernalia (misdemeanor)       485.033                N/A                conviction was in the last                Yes^^
                                                                                             10 years




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                                                                                                                      If This Person Is Eligible for a
                                                                                                                         Risk Evaluation, May the
                                                                  FELONY                   MISDEMEANOR                Person be Present at a Child-
                                             Health and
                Offense                                   (Includes All Levels Unless   (Includes All Levels Unless         Care Operation While
                                            Safety Code      Otherwise Specified)          Otherwise Specified)        Children are in Care Pending
                                                                                                                          the Outcome of the Risk
                                                                                                                                Evaluation?
Hampering, Obstructing, Tampering with
or Destroying Electronic Monitoring
Device, Tape or Recording from                555.162                N/A                    Risk Evaluation                         No
Resident's Room at State Supported
Living Center (misdemeanor)

 Texas Human Resources Code
 Chapter 40 Department of Family and Protective Services
 Chapter 42 Regulation of Certain Facilities, Homes and Agencies that Provide Childcare Services
 Chapter 43 Regulation of Childcare and Child Placing Agency Administrators
 Chapter 48 Investigations and Protective Services For Elderly and Disabled Persons
                                                                                                                      If This Person Is Eligible for a
                                                                                                                         Risk Evaluation, May the
                                              Human               FELONY                   MISDEMEANOR                Person be Present at a Child-
                Offense                      Resource     (Includes All Levels Unless   (Includes All Levels Unless         Care Operation While
                                               Code          Otherwise Specified)          Otherwise Specified)        Children are in Care Pending
                                                                                                                          the Outcome of the Risk
                                                                                                                                Evaluation?
Confidentiality of Information
                                              40.005                 N/A                    Risk Evaluation                       Yes^^
(misdemeanor)

False Report: Criminal Penalty (felony or
                                              42.0447         Risk Evaluation               Risk Evaluation                       Yes^^
misdemeanor)
Required Background and Criminal
History Checks: Criminal Penalties            42.056                 N/A                    Risk Evaluation                         No
(misdemeanor)
Administering Medication
                                              42.065                 N/A                    Risk Evaluation                       Yes^^
(misdemeanor)

Criminal Penalties (misdemeanor)              42.076                 N/A                    Risk Evaluation                       Yes^^




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                                                                                                                   If This Person Is Eligible for a
                                                                                                                      Risk Evaluation, May the
                                            Human              FELONY                    MISDEMEANOR               Person be Present at a Child-
                Offense                    Resource    (Includes All Levels Unless   (Includes All Levels Unless         Care Operation While
                                             Code         Otherwise Specified)          Otherwise Specified)        Children are in Care Pending
                                                                                                                       the Outcome of the Risk
                                                                                                                             Evaluation?
Criminal Penalty for Operating Daycare
Center without Qualified Director           42.0761               N/A                    Risk Evaluation                       Yes^^
(misdemeanor)

Penalty (misdemeanor)                       43.012                N/A                    Risk Evaluation                       Yes^^

Failure to Report; Penalty (felony or
                                            48.052           Absolute Bar                Risk Evaluation                         No
misdemeanor)

False Report; Penalty (misdemeanor)         48.053                N/A                    Risk Evaluation                       Yes^^


 Texas Alcoholic Beverage Code
 Chapter 106 Provisions Related to Age
                                                                                                                   If This Person Is Eligible for a
                                                                                                                      Risk Evaluation, May the
                                            Texas
                                                               FELONY                    MISDEMEANOR               Person be Present at a Child-
                                           Alcoholic
                Offense                                (Includes All Levels Unless   (Includes All Levels Unless         Care Operation While
                                           Beverage
                                                          Otherwise Specified)          Otherwise Specified)        Children are in Care Pending
                                             Code
                                                                                                                       the Outcome of the Risk
                                                                                                                             Evaluation?
Purchase of Alcohol for a Minor;                                                        Risk Evaluation if
Furnishing Alcohol to a Minor               106.06                N/A                conviction was in the last                Yes^^
(misdemeanor)                                                                                10 years
Prohibited Activities by Persons
Younger than 18 (misdemeanor) or                                                        Risk Evaluation if
Inducing a Minor to Dance with Another      106.15                N/A                conviction was in the last                Yes^^
in Exchange for a Benefit by Alcoholic                                                       10 years
Beverage Permittee (misdemeanor)*

 Texas Business and Commerce Code
 Chapter 110 Computer Technicians Required to Report Child Pornography


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                                                                                                                    If This Person Is Eligible for a
                                                                                                                       Risk Evaluation, May the
                                            Texas
                                                                FELONY                    MISDEMEANOR               Person be Present at a Child-
                                         Business and
                Offense                                 (Includes All Levels Unless   (Includes All Levels Unless         Care Operation While
                                          Commerce         Otherwise Specified)          Otherwise Specified)        Children are in Care Pending
                                            Code
                                                                                                                        the Outcome of the Risk
                                                                                                                              Evaluation?
Failure to Report Child Pornography by
                                           110.003                 N/A                    Risk Evaluation                         No
Computer Technician (misdemeanor)


 Texas Code of Criminal Procedure
 Chapter 62 Sex Offender Registration Program
                                                                                                                    If This Person Is Eligible for a
                                                                                                                       Risk Evaluation, May the
                                         Texas Code             FELONY                    MISDEMEANOR               Person be Present at a Child-
                Offense                  of Criminal    (Includes All Levels Unless   (Includes All Levels Unless         Care Operation While
                                          Procedure        Otherwise Specified)          Otherwise Specified)        Children are in Care Pending
                                                                                                                        the Outcome of the Risk
                                                                                                                              Evaluation?
Failure to Comply with Sex Offender
                                            62.102          Risk Evaluation               Risk Evaluation^                        No
Registration Requirements (felony)


 Texas Civil Practice and Remedies Code
 Chapter 81 Sexual Exploitation by Mental Health Services Provider
                                                                                                                    If This Person Is Eligible for a
                                                                                                                       Risk Evaluation, May the
                                          Texas Civil
                                                                FELONY                    MISDEMEANOR               Person be Present at a Child-
                                         Practice and
                Offense                                 (Includes All Levels Unless   (Includes All Levels Unless         Care Operation While
                                          Remedies
                                                           Otherwise Specified)          Otherwise Specified)        Children are in Care Pending
                                            Code
                                                                                                                        the Outcome of the Risk
                                                                                                                              Evaluation?
Failure to Report Possible Sexual                                                        Risk Evaluation if
Exploitation of Mental Health Patient       81.006                 N/A                conviction was in the last                Yes^^
(misdemeanor)                                                                                 10 years




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 Any other Title under the Texas Penal Code or any other Texas Code not specifically mentioned above
                                                                                                                           If This Person Is Eligible for a
                                                                                                                              Risk Evaluation, May the
                                           Texas Penal
                                                                     FELONY                   MISDEMEANOR                  Person be Present at a Child-
                                           Code or any
               Offense                                       (Includes All Levels Unless   (Includes All Levels Unless           Care Operation While
                                           other various        Otherwise Specified)          Otherwise Specified)          Children are in Care Pending
                                           Texas Codes
                                                                                                                               the Outcome of the Risk
                                                                                                                                     Evaluation?
                                                                Risk Evaluation if
Varies – Any offense DFPS determines
                                               Varies        conviction was in the last      No Action Required                         Yes^^
is a financial crime
                                                                     10 years
                                                                Risk Evaluation if
Varies                                         Varies        conviction was in the last      No Action Required                           No
                                                                     10 years

 * Indicates an offense that has been renamed with the Regular Session of the 84 th Legislature (2015). Both current and previous offense names have been
 provided on the chart.

 † These offenses result in a bar based on federal requirements set forth in 42 USC 9858f.658H(c)(1).

 †† These convictions result in an absolute bar if it is determined that the offense was a violent misdemeanor and committed by an adult offender against a
 child victim, per federal requirements set forth in 42 USC 9858f.658H(c)(1)(E).

 ^ While these offenses are not normally prosecuted as misdemeanors, action is described should the offense be reduced to a misdemeanor per TPC
 12.44(b).

 ^^ Even though persons may be present at a child-care operation pending the outcome of the risk evaluation, DFPS may place conditions or restrictions on
 a person's duties in order for the person to be present at the operation. For example, a person convicted of Driving While Intoxicated may be permitted to be
 employed but will not be permitted to transport children in the care of the operation.




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